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December 18, 2013                                    •


In re Nortel Networks Inc., et at, Case No, 09-1-138
Nortel Networks Corporation, et al; Court File No. 09-CL-7950

Re:          Objections to the Representative Topics Served on the Candadian
             Deposition Group bv the US Deposition Group

Dear Ms. Decker:

Below please find the Canadian Debtors and the Monitor's objections to the representative topics served by the
US Deposition Group.

Topic No. 1: Statements made by Nortel Networks Limited ("NNL") or any affiliated entity or any
employee, advisor or representative thereof (including, but not limited to, the Monitor, E&Y U.S. and
E&Y Canada, Horst Frisch and Osiers) to any third party regarding the Master Research and
Development Agreement ("MRDA"), transfer pricing, ownership (including with respect to economic,
beneficial and/or legal ownership) of intellectual property or intellectual property license rights of any
MRDA participant, including but not limited to, government authorities, including tax authorities, debt-
rating agencies, underwriters, or any entity evaluating the credit-worthiness of NNL, and pfepetition and
post-petition potential asset purchasers.

RESPONSE TO TOPIC 1:

The Canadian Debtors and the Monitor object to this topic to the extent it seeks information protected from

disclosure by the attorney­client privilege, work product immunity, as well as other applicable privileges and

immunities. The Canadian Debtors and the Monitor further object to the extent it seeks information concerning

"affiliated entities" and "any employee, advisor or representative" over which neither the Canadian Debtors or



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Mannheim, Milan, Moscow, Munich, New York, Paris, Perth, Prague, Riyadh (associated office), Rome, Sao Paulo, Shanghai, Singapore, Sydney, Tokyo, Warsaw and Washington, D.C.
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the Monitor have any custody or control. The Canadian Debtors and the Monitor further object to this topic to

the extent it seeks information that is not reasonably available to them, and thus is unduly burdensome. The

Canadian Debtors and the Monitor further object to the extent it seeks to obligate them to review and analyze

materials that have not otherwise been produced in these proceedings. The Canadian Debtors and the Monitor

further object to the extent it seeks information concerning the broad categories of the "MRDA" and "transfer

pricing", which cover a nine year time period, as well as information from four other third­parties. The

Canadian Debtors and the Monitor object to the extent this topic seeks information beyond the information

maintained by the Canadian Debtors and the Monitor with respect to statements made by them conceming

ownership of intellectual property or intellectual property license rights.


Topic No. 2: Third-party licensing by any Nortel entity of its intellectual property, including with respect
to which Nortel entity had the right to and did engage in such licensing activity and which Nortel entity
recognized revenue on royalty payments.

RESPONSE TO TOPIC 2:

The Canadian Debtors and the Monitor object to this topic to the extent it seeks information protected from

disclosure by the attorney­client privilege, work product immunity, as well as other applicable privileges and

immunities. The Canadian Debtors and the Monitor further object to this topic to the extent it seeks information

that is not reasonably available to them, and thus is unduly burdensome. The Canadian Debtors and the Monitor

further object to the extent it seeks to obligate them to review and analyze materials that have not otherwise been

produced in these proceedings. The Canadian Debtors and the Monitor further object to this topic as overly

broad and ambiguous to the extent it seeks information conceming every license of intellectual property and to

the extent it seeks information relating to Commercial Licenses as described in the Rockstar Agreement or

licenses of intellectual property other than patents.


Topic No. 3: The practice of prosecuting or defending patents in litigation, including decisions with
respect to which Nortel entities should participate and/or bear financial risk with respect to the litigation.




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RESPONSE TO TOPIC 3:

The Canadian Debtors and the Monitor object to this topic to the extent it seeks information protected from

disclosure by the attorney­client privilege, work product immunity, as well as other applicable privileges and

immunities. The Canadian Debtors and the Monitor further object to the extent it seeks to obligate them to

review and analyze materials that have not otherwise been produced in these proceedings.


Topic No, 4: Internal valuations of Nortel intellectual property by estate, by business line in whole or in
part and the methods used in such valuations, whether conducted by third parties or by Nortel personnel.

RESPONSE TO TOPIC 4:

The Canadian Debtors and the Monitor object to this topic to the extent it seeks information protected from

disclosure by the attorney­client privilege, work product immunity, as well as other applicable privileges and

immunities. The Canadian Debtors and the Monitor further object to this topic to the extent it seeks expert

discovery prior to Court ordered date for such disclosures. The Canadian Debtors and the Monitor further object

to this topic to the extent it seeks information that is not reasonably available to them, and thus is unduly

burdensome. The Canadian Debtors and the Monitor further object to the extent it seeks to obligate them to

review and analyze materials that have not otherwise been produced in these proceedings. The Canadian

Debtors and the Monitor further object to this topic as overly broad and ambiguous to the extent it seeks

information concerning every divesture, acquisition or transaction.




Finally, the Canadian Debtors and the Monitor further object to the extent the US Debtors intend to seek

information from the Canadian Debtors and the Monitor on topics and subject matter beyond the topics

enumerated above.

          A



Partner


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